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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA

  UNITED STATES OF AMERICA,                                    CASE NUMBER


                                                  PLAINTIFF
                                                                               ~D-/3t~/M
                          V.
                                                                  NOTICE DIRECTING DEFENDANT TO

Ke~,~v ~r~ence /~,a/~/~6r~KDEFENDANT.                           APPEAR FOR PRELIMINARY HEARING AND
                                                                        FOR ARRAIGNMENT ON
                                                                     INDICTMENT/INFORMATION

          YOU ARE HEREBY        OTIFIED AND DIRECTED to appear before United States Magistrate Judge
                                                          United States Courthouse located at:
    Western Division                         ❑ Southern Division                     ❑Eastern Division
    255 E. Temple Street                         411 W. Fourth Street                  3470 Twelfth Street
    Courtroom 341 , 3rd            Floor         Courtroom                  Floor      Courtroom                      Floor
    Los Angeles, CA 90012                        Santa Ana, CA 92701                   Riverside, CA 92501
at     ~36       AM ~on                ~~Q/'D~                            ,for your Preliminary Hearing. You are hereby
directed to appear on this date unless you are informed that an indictment or information is filed against you in the
U.S. District Court prior to the date set forth herein.

         If an indictment or information has been filed, YOU ARE NOTIFIED AND DIRECTED to appear without
further notice before United States Magistrate Judge                         ,United States Courthouse located at:
     Western Division                    ❑ Southern Division                      ❑Eastern Division
    255 E. Temple Street                    411 W. Fourth Street                     3470 Twelfth Street
    Courtroom 341 , 3rd         Floor       Courtroom                     Floor      Courtroom                   Floor
    Los Angeles, CA 90012                   Sant Ana, CA 92701                       Riverside, CA 92501
at     // % ~           ~/PM on               ~/bf~0~                           ,at which time you shall be arraigned on
the indictment /information. Upon arraignment, your case will be assigned to a Judge of this Court before whom you
must be prepared to appear on the same day and enter a plea.

         If you have retained your own attorney, he or she must be present with you on the date ordered above. If you do
not have an attorney, an attorney will be appointed to represent you at the time, provided you are without sufficient funds
to retain a private attorney.

   IF YOU FAIL TO APPEAR AT THE DATE,TIME AND PLACE INDICATED,YOUR PRESENT BOND
   WILL BE FORFEITED AND THE COURT WILL ISSUE A WARRANT FOR YOUR ARREST.

NOTE: Your case may be assigned for further proceedings in a division different from the one indicated above. If so, a
notice will be mailed to you and your attorney, therefore, keep in close contact with your attorney so you will not waste
time and effort by going to the wrong location.
                                                                   Clerk, U. S. District Court


Filed and Dated:       3
                       /~!~~                                      By      cJ • ~►'Gh7.0
                                                                       Magistrate Judge Courtroom Deputy Clerk


                           NOTICE DIRECTING DEFENDANT TO APPEAR FOR PRELIMINARY HEARING
M-60 (06/07)                     AND FOR ARRAIGNMENT ON INDICTMENT /INFORMATION
